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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

TONYETT DENISE FOUNTAIN *
Petitioner #
v . + Civil Action No. WMN-15-2447
MARGARET CHIPPENDALE, et al. *
Respondents *
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MEMORANDUM

Respondents allege in the Limited Answer to the above-entitled Petition for Writ of
Habeas Corpus that the petition is time-barred and must be dismissed. ECF 4. Petitioner
Tonyett Fountain was provided an opportunity to file a Reply to explain why this Court may
excuse the failure to file the petition in a timely manner and reach the merits of the claims
asserted. ECF 5. Fountain has filed a Reply. ECF 9. For the reasons that follow, the petition
must be dismissed as untimely.

Fountain pled guilty to first degree felony murder on April 20, 2009, in the Circuit Court
for Caroline County. The guilty plea proceeding occurred after Fountain was granted a new trial
in February 2009, following a jury trial in December of 2008, in which Fountain was found
guilty of felony murder and burglary. ECF 4 at Ex. 1, p. 17. Pursuant to the guilty plea,

_ Fountain was sentenced to life with all but 30 years suspended on May 5, 2009. Jd.

Fountain did not file an application for leave to appeal the entry of her guilty plea and
sentence. The time for doing so expired on June 4, 2009. See Md. Code Ann., Cts & Jud. Proc.
§12-302(e); Md. Rule 8-204(b). For purposes of determining the applicable filing deadline for

federal habeas relief under 28 U.S.C. §2254, Fountain’s conviction was final on June 4, 2009.
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On March 19, 2010, Fountain filed a petition for post-conviction relief in the Circuit
Court for Caroline County, which was later withdrawn on June 11, 2010. ECF 4 at Ex. 1. No
further petitions were filed by Fountain within the relevant time frame.

A one-year statute of limitations applies to habeas petitions in non-capital cases for a
person convicted in a state court. See 28 U.S.C. § 2244(d). This section provides:

(1) A 1-year period of limitation shall apply to an application for a
writ of habeas corpus by a person in custody pursuant to the
judgment of a State court. The limitation period shail run from the
latest of-

(A) _ the date on which the judgment became final by the
conclusion of direct review or the expiration of the time for
secking such review;

(B) _ the date on which the impediment to filing an
application created by State action in violation of the
constitution or laws of the United States is removed, if the
applicant was prevented from filing by such State action;

(C) — the date on which the constitutional right asserted
was initially recognized by the Supreme Court, if the right
has been newly recognized by the Supreme Court and made
retroactively applicable to cases on collateral review; or

(D) _ the date on which the factual predicate of the claim
or claims presented could have been discovered through the
exercise of due diligence.
(2) The time during which a properly filed application for State
post-conviction or other collateral review with respect to the
pertinent judgment or claim is pending shall not be counted toward
any period of limitation under this subsection.
“(T]he one year limitation period is also subject to equitable tolling in ‘those rare
instances where - due to circumstances external to the party’s own conduct - it would be

unconscionable to enforce the limitation against the party and gross injustice would result.’” Hil/

v. Braxton, 277 F. 3d 701, 704 (4th Cir. 2002) (citing Harris v. Hutchinson, 209 F. 3d 325, 330

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(4th Cir. 2000)). To be entitled to equitable tolling, Fountain must establish that either some
wrongful conduct by Respondents contributed to her delay in filing her petition or that
circumstances that were beyond her control caused the delay. See Harris, 209 F. 3d at 330.

The one-year period for seeking federal habeas relief began to run in Fountain’s case on
June 4, 2009, and was tolled between March 19, 2010 and June 11, 2010, when her post-
conviction petition was pending. Prior to the limitations period being tolled, 288 days (the time
between June 4, 2009 and March 19, 2010) expired on the one-year limitations period.
Following withdrawal of the post-conviction petition, Fountain had 77 days remaining on the
limitations period, or until August 27, 2010, to file a federal habeas petition. The instant petition
was filed on August 14, 2015.

Fountain asserts in Reply to Respondents’ assertion that the petition is time-barred, that
she was not aware of the availability of federal habeas relief and thought there was nothing she
could do other than simply accept her sentence as imposed. ECF 9. In subsequent
correspondence, Fountain states she is in the process of obtaining counsel to seek post-conviction
relief. ECF 11.

Equitable tolling is unavailable where, as here, a litigant simply fails to realize there is a
federal remedy available that must be pursued in a timely manner, The instant petition is time-
barred, there exists no basis for excusing the delay, and the petition must be dismissed.
Additionally, a certificate of appealability shall not issue as Fountain fails to demonstrate “(1)
‘that jurists of reason would find it debatable whether the petition states a valid claim of the
denial of a constitutional right’ and (2) ‘that jurists of reason would find it debatable whether the
district court was correct in its procedural ruling.’ ” Rouse v. Lee, 252 F.3d 676, 684 (4th

Cir.2001) (quoting Slack v. Daniel, 529 U.S. 473, 484 (2000)).
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A separate Order follows.

Dated: September 9, 2016

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/s/
William M. Nickerson
Senior United States District Judge

 

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